   Case 21-30589-MBK                   Doc 2680         Filed 07/11/22 Entered 07/11/22 10:17:17                             Desc Main
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                                                                                                 Order Filed on July 11, 2022
                                                                                                 by Clerk
                                                                                                 U.S. Bankruptcy Court
UNITED STATES BANKRUPTCY COURT                                                                   District of New Jersey
DISTRICT OF NEW JERSEY

In Re:                                                                       Case No.:                      21-30589
                                                                                                      ____________________

                                                                             Chapter:                 ____________________
                                                                                                               11
   LTL Management LLC
                                                                             Hearing Date:            ____________________

                                                                             Judge:                    Michael B. Kaplan
                                                                                                     ____________________




                                                         ORDER VACATING

         _____________________________________________________________________________
         #2677 Order Granting Application For Compensation for Brown Rudnick LLP, fees awarded: $7758952.75, expenses awarded: $298265.35




         The relief set forth on the following page is hereby ORDERED.




DATED: July 11, 2022
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 The Court on its own motion finds that the:
 #2677 Order Granting Application For Compensation for Brown Rudnick LLP, fees awarded: $7758952.75, expenses awarded: $298265.35
 _____________________________________________________________________________
 was entered in this case in error and must be vacated; and for good cause shown, it is

 ORDERED that the above mentioned Order , dated ________________________,
                                                        7/9/2022          be and the
 same is hereby vacated.




                                                                                                                    revised 2/25/14
